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                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )      8:09CR348
                                                       )
                       vs.                             )      FINAL ORDER OF
                                                       )      FORFEITURE
                                                       )
IVAN RODRIGUEZ,                                        )
                                                       )
                               Defendant.              )


       NOW ON THIS 16th day of August, 2010, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

       1. On May 18, 2010, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853 based upon the Defendant's plea

of guilty to Counts I and III of the Indictment filed herein. By way of said Preliminary Order of

Forfeiture, the Defendant’s interest in $25,330.00 in United States currency was forfeited to the

United States.

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site www.forfeiture.gov for at least thirty consecutive days, beginning on May 21, 2010, as required

by Rule G(4)(a)(iii)(B) of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions. A Declaration of Publication was filed herein on August 9, 2010 (Filing No.

72).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.
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       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $25,330.00 in United States currency held by any

person or entity, is hereby forever barred and foreclosed.

       C. The $25,330.00 in United States currency be, and the same hereby are, forfeited to the

United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 16th day of August, 2010.

                                                      BY THE COURT:



                                                      s/ Joseph F. Bataillon
                                                      Chief District Court
